        Case: 6:22-cv-00007-REW-HAI Doc #: 16 Filed: 03/21/22 Page: 1 of 2 - Page ID#: 55
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  Kentucky
                                                                      __________


                        Mary Williams                          )
                             Plaintiff                         )
                                v.                             )      Case No.     6:22-cv-00007-REW-HAI
              Aetna Life Insurance Company                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Aetna Life Insurance Company                                                                                  .


Date:          03/21/2022                                                      /s/ Warren Sebastian von Schleicher
                                                                                         Attorney’s signature


                                                                          Warren Sebastian von Schleicher - IL6197189
                                                                                     Printed name and bar number
                                                                                Smith von Schleicher & Associates
                                                                               180 North LaSalle Street, Suite 3130
                                                                                     Chicago, Illinois 60601

                                                                                               Address

                                                                                 warren.vonschleicher@svs-law.com
                                                                                            E-mail address

                                                                                          (312) 541-0300
                                                                                          Telephone number

                                                                                          (312) 541-0933
                                                                                             FAX number
Case: 6:22-cv-00007-REW-HAI Doc #: 16 Filed: 03/21/22 Page: 2 of 2 - Page ID#: 56




                                 CERTIFICATE OF SERVICE

I certify that on March 21, 2022, I electronically filed the foregoing with the Clerk of the above
Court using the CM/ECF system, which will send notification of such filing on the following
attorney:

K. Cody Allison
Cody Allison & Associates, PLLC
Parkway Towers
404 James Robertson Pkwy, Suite 1623
Nashville, Tennessee 37219
cody@codyallison.com

                                                     /s/ Warren von Schleicher
                                                     SMITH | VON SCHLEICHER + ASSOCIATES
                                                     180 North LaSalle St. Suite 3130
                                                     Chicago, Illinois 60601
                                                     P 312.541.0300 | F 312.541.0933
                                                     warren.vonschleicher@svs-law.com
                                                     Ill. Bar No. 6197189
